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     No. 22-10077 consolidated with 22-10534
               U.S. Navy SEALs 1-26 v. Biden.
                    USDC No. 4:21-CV-1236
                    USDC No. 4:21-CV-1236


Dear Counsel:
Attached is the consolidated case caption, which should be used on
all future filings in this case.


                               Sincerely,
                               LYLE W. CAYCE, Clerk

                               By: _________________________
                               Melissa B. Courseault, Deputy Clerk
                               504-310-7701
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                          Case No. 22-10077



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No. 22-10077
consolidated with
No. 22-10534
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U.S. Navy SEALs 1-26; U.S. Navy Special Warfare Combatant Craft
Crewmen 1-5; U.S. Navy Explosive Ordnance Disposal Technician 1;
U.S. Navy Divers 1-3,
                      Plaintiffs - Appellees
v.
Joseph R. Biden, Jr., in his official capacity as President of
the United States of America; Lloyd Austin, Secretary, U.S.
Department of Defense, individually and in his official capacity
as United States Secretary of Defense; United States Department
of Defense; Carlos Del Toro, individually and in his official
capacity as United States Secretary of the Navy,
                      Defendants - Appellants
